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                            UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF NEW YORK

 In re Terrorist Attacks on September 11, 2001         03-md-1570 (GBD)(SN)
                                                       ECF Case
 This document relates to:                             15-cv-9903 (GBD)(SN)
 Thomas Burnett, Sr., et al. v. The Islamic            ECF Case
 Republic of Iran, et al.

        ORDER OF PARTIAL FINAL DEFAULT JUDGMENTS ON BEHALF OF
               BURNETT/IRAN PERSONAL-INJURY PLAINTIFFS
                          (BURNETT / IRAN PERSONAL INJURY 8)

       Upon consideration of the evidence and arguments submitted by the Plaintiffs identified

below, plaintiffs in Thomas Burnett, Sr., et al. v. The Islamic Republic of Iran, et al., Case No. 15-

cv-9903 (GBD)(SN), who were each physically injured on September 11, 2001 as a proximate

result of the terrorist attacks on September 11, 2001, and the Judgment by Default for liability only

against the Islamic Republic of Iran, the Islamic Revolutionary Guard Corps, and the Central Bank

of the Islamic Republic of Iran (collectively, the “Iran Defendants”) entered on January 31, 2017

(15-cv-9903, ECF No. 85), together with the entire record in this case, it is hereby;

       ORDERED that service of process was effected upon the Iran Defendants in accordance

with 28 U.S.C. § 1608(a) for sovereign defendants and 28 U.S.C. § 1608(b) for agencies and

instrumentalities of sovereign defendants; and it is

       ORDERED that partial final judgment is entered against the Iran Defendants and on behalf

of the Plaintiffs in Thomas Burnett, Sr., et al. v. The Islamic Republic of Iran, et al., Case No. 15-

cv-9903 (GBD)(SN), identified below; and it is

       ORDERED that a review of Plaintiffs’ submissions makes clear that each of the individual

Plaintiffs has suffered profoundly as a result of the tragic events of September 11, 2001, and this

review supports the determination that the following personal injury awards are appropriate:
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                Category of Injury                    Pain and Suffering Damages Award

                        Significant                                 $5,000,000

                          Severe                                    $7,000,000

                      Devastating                                  $10,000,000


        ; and it is

        ORDERED that the Burnett Plaintiffs identified in the attached Exhibit B are awarded

judgment for pain and suffering damages as set forth in Exhibit B; and it is

        ORDERED that Plaintiffs identified in the attached Exhibit B are awarded prejudgment

interest of 4.96 percent per annum, all interest compounded annually over the same period, running

from September 11, 2001 until the date of judgment; and it is

        ORDERED that Plaintiffs identified in the attached Exhibit B may submit an application

for punitive damages, economic damages, or other damages (to the extent such awards have not

previously been ordered) at a later date consistent with any future rulings made by this Court on

this issue; and it is

        ORDERED that the remaining Burnett/Iran personal-injury Plaintiffs not identified in the

attached Exhibit B, may submit in later stages applications for damages awards for compensatory

damages for pain and suffering, punitive damages, economic damages, or other damages (to the

extent such awards have not been previously ordered).

        The Clerk of the Court is directed to close the motions in 03 MDL 1570, (ECF No. 9660),

and 15 Civ. 9903, (ECF No. 693), accordingly.

Dated: _____________________, 2024                   SO ORDERED:


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                                                     GEORGE B. DANIELS
                                                     United States District Judge

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